          Case 2:23-cr-00599-MCS Document 70 Filed 04/12/24 Page 1 of 1 Page ID #:1956

 Name Angela Machala (State Bar No. 224496)
 Address 333 S. Grand Avenue, 38th Fl.
 City, State, Zip Los Angeles, CA 90071-1543
 Phone (213) 615-1700
 Fax (213) 615-1750
 E-Mail AMachala@winston.com
 G FPD        G Appointed    G CJA       G Pro Per    G✘Retained

                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
United States of America                                                CASE NUMBER:

                                                                                                  2:23-cr-00599-MCS
                                                     PLAINTIFF(S),
                                  v.
Robert Hunter Biden
                                                                                          NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                        Robert Hunter Biden                           hereby appeals to
                                                                   Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                              G Order (specify):
 G Conviction and Sentence
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       G Judgment (specify):
 ✘ Interlocutory Appeals
 G
 G Sentence imposed:
                                                                        G Other (specify):

 G Bail status:



Imposed or Filed on              April 1, 2024          . Entered on the docket in this action on April 1, 2024                              .

A copy of said judgment or order is attached hereto.


April 12, 2024                                          /s/ Angela Machala
Date                                                    Signature
                                                        G Appellant/ProSe           ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
